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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                                  *
Bryce Carrasco,
Plaintiff
                                                  *
v.                                                        Case 1:21-cv-00532-SAG
                                                  *
M&T Bank,
Defendant
                                                  *
     *      *      *       *       *      *       *       *      *       *       *      *         *

         PLAINTIFF’S REPLY TO M&T’S CONSOLIDATED MOTION TO DISMISS

     Plaintiff comes now to file this reply to M&T’s Consolidated Response (ECF 31). I do not

find it necessary to respond to all of the arguments in the Defendant’s instant reply because the

arguments are meritless and fail to address the central points set forth in the Complaint regarding

Counts 1 and 2. Therefore, it is unnecessary to reply to these arguments because they are

completely irrelevant and only serve as a distraction to the key points which the plaintiff has

presented before the Court.

     The Responsive Brief does not allege anything new or unique but rather serves as support to

the merit of the allegations in the Complaint and further provides a more thorough examination

of those claims.

     Since the Consolidated Response is irrelevant and meritless, I do not think it is not necessary

to provide counterarguments to this filing. Nevertheless, plaintiff does believe that he has

successfully constructed two valid legal claims against M&T and also supplied the court with

factual evidence which has not been disputed and proves the validity of the claims. Therefore,

the plaintiff will wait for the court to address the motion to dismiss before going any further in

the current lawsuit. The motion should be denied as it is wholly without merit.


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                                 Signature Page

   Date: 19 April 2021

/s/Bryce Carrasco
Bryce Carrasco
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